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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2021 OK 36Case Number: SCBD-7059Decided: 06/07/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 36, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 




IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2021 DUES
ORDER OF SUSPENSION FOR NONPAYMENT OF DUES
On May 24, 2021, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2021 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, ' 1. The Board of Governors recommended that the members whose names appear on Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art.&nbsp;VIII, ' 2. 
This Court finds that on April 15, 2021, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2021. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.
This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.
IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2021 as required by the Rules Creating and Controlling the Oklahoma Bar Association.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7TH DAY OF JUNE, 2021.
&nbsp;
/S/CHIEF JUSTICE
Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur.




EXHIBIT A(DUES - SUSPENSION)
Arya Affeldt Adibi, OBA #308376226 E 98th STTulsa, OK 74137
Andrew David Balint, OBA #22373114 N Grand Ave Ste 408Okmulgee, OK 74447-4032
Sara Jane Boeckman, OBA #1246010339 Veneto CirThe Village, OK 73120
Robert Harold Butler, OBA #13667405 Cug Hill CTClaremore, OK 74019
Mitchell Kenneth Coatney, OBA #2106616328 Muirfield PLEdmond, OK 73013
Alan Richard Fedman, OBA #28541851 San Ramon AveBerkeley, CA 94707
Wesley C. Fredenburg, OBA #3114833 Great Oaks TrlEagan, MN 55123-2435
Grant Chase Garrard, OBA #300851797 Dexter STBroomfield, CO 80020
James Troy Gaston, OBA #198131405 W Center ST Ste 300Greenwood, AR 72936
Erin Williams Gerner, OBA #214076303 Belmont AveDallas, TX 75214-3627
Robert Eugene Goins, OBA #322357820 E Galveston STBroken Arrow, OK 74014-7060
Jennifer Lynne Graf, OBA #31812Kilpatrick, Townsend &amp; Stockton LLP2001 Ross Ave Ste 4400Dallas, TX 75201
Matthew Hadyn Griffith, OBA #1871380 E 5th ST Ste 100Edmond, OK 73034-3830
Matthew Dwight Haire, OBA #14916313 NE 21st STOklahoma City, OK 73105
Dianne Barker Harrold, OBA #122077308 W 805 RDFort Gibson, OK 74434-6014
Keegan Kelley Harroz, OBA #30383625 NW 13th STOklahoma City, OK 73103
Stanley Wayne Holloway, OBA #144976801 White Bluff TrlAmarillo, TX 79118
Joy Dawn Jones, OBA #32639PO Box 911Miami, OK 74355-0911
Sean Wesley Kilian, OBA #311172200 Ross Ave Ste 2800Dallas, TX 75201
Randolph Lee Marsh, OBA #173135 Timber Creek CirShawnee, OK 74804
Brittany Lee Mayes, OBA #304004100 Coventry LNNorman, OK 73072
M. Louise McFall, OBA #103322117 Hidden Creek CTEdmond, OK 73034
Ryan Matthew McFarlin, OBA #22232PO Box 224114Dallas, TX 75222
Gary Ray McSpadden, OBA #6093321 S Boston Ave Ste 500Tulsa, OK 74103
John Scot Overbey, OBA #320945454 Washington Ave Apt 3604Houston, TX 77007-6409
Christi Marie Panter, OBA #31714PO Box 231Brewster, KS 67732-0231
Beauchamp Marcellus Patterson, OBA #19188420 Throckmorton ST St 550Fort Worth, TX 76102
Chad Robert Reineke, OBA #20316PO Box 14733Oklahoma City, OK 73113-0733
Joseph Keith Remmel, OBA #308135323 S Harvard Ave Apt ETulsa, OK 74135
Chadwick R. Richardson, OBA #155894890 E 68th ST Unit 226Tulsa, OK 74136-4955
Casey Lee Saunders, OBA #20829PO Box 2318Ada, OK 74821
William Donald Smith, OBA #15845925 NW 6th STOklahoma City, OK 73106
Nicholas James Strawn, OBA #321904423 Cole Ave Apt 217Dallas, TX 75205
Gary Arthur Taylor, OBA #88603233 NW 17th STOklahoma City, OK 73107
Sarah Grace Trainer, OBA #3296410001 Woodloch Forest DR Ste 300The Woodlands, TX 77380
Daniel Martin Vigilius, OBA #340421770 S Rock RD Apt 604Wichita, KS 67207
Delores W. Warren, OBA #150618011 Gardner DRAlpharetta, GA 30009
Nicholas Weeks, OBA #33786999 Jessica Leigh STElkins, AR 72727
Carroll R. Wheeler, OBA #10519313 Italy ST NEValese, NC 28690-2431
Michael Patrick Whelan, OBA #227826151 E 52nd STTulsa, OK 74135-7714




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